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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHARLES TALBERT, )
)
Plaintiff, ) Case No. 1:24-cv-166-SPB-RAL
)
Vv. )
)
DEPARTMENT OF CORRECTIONS, _ )
et al., )
)
Defendants. )
MEMORANDUM ORDER

This prisoner civil rights action was removed to this Court from the Forest County Court
of Common Pleas on June 12, 2024. Plaintiff Charles Talbert is an inmate currently housed at
the State Correctional Institution at Fayette. His pro se Amended Complaint, filed on August 7,
2024, is the operative pleading in this case. ECF No. 24. Therein, Plaintiff identifies twelve
Defendants whom he claims engaged in fraud and conspiracy and violated his rights under the
Americans with Disabilities Act, the Rehabilitation Act, and the Eighth and Fourteenth
Amendments to the U.S. Constitution.

This matter has been referred to Chief United States Magistrate Judge Richard A.
Lanzillo for pretrial proceedings in accordance with the Magistrate Judges Act, 28 U.S.C.
§636(b)(1), and Local Civil Rule 72(b). On August 26, 2024, Chief Magistrate Judge Lanzillo
issued a Report and Recommendation (“R&R”) in which he recommended that this Court
dismiss Plaintiffs claims against Judge Genece Brinkley, because any claims against Judge

Brinkley are barred on the basis of absolute judicial immunity. ECF No. 30.

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On September 5, 2024, Plaintiff filed his “Conditional Concurrence with Report and
Recommendation.” ECF No. 35. Plaintiff does not appear to oppose the dismissal of his claims
against Judge Brinkley; however, he states that

the Court should deny the DOC Defendants’ argument of “improper joinder” in

their Motion to Dismiss (Doc. 18), and Wellpath’s Opposition to Plaintiff's Motion

to Consolidate in Case No. 1:23-cv-00260 (Doc. 158), as the remaining Defendants

in the instant case and other cases before the Court have a common question of both

law and fact. The instant case involves issues of “arbitrary governmental

procedures that violate due process.” All 3 "| cases involve federal funds intended

to be used for the Commonwealth’s criminal justice system. Thus, it would clearly

be beneficial to the Court and all parties in all 3 cases to have all 3 cases formed as
one case so that the issues do not overlap with one another and cause confusion.

ECF No. 35 at 1-2.

For present purposes, the only matter which the Court need address is the dismissal of
Plaintiffs claims against Judge Brinkley on grounds of judicial immunity. The Chief Magistrate
Judge’s recommendation on that point is plainly correct. The other legal issues raised by Plaintiff
in his “Conditional Concurrence” will be addressed by the Court in due course in separate
rulings.

Accordingly, after de novo review of the operative pleading and documents in the case,
along with the Chief Magistrate Judge’s Report and Recommendation [30] and Plaintiff's filing

in response thereto [35], the following order is entered:

NOW, this 11" day of October, 2024, IT IS ORDERED that the Plaintiff's claims against
Defendant Genece Brinkley, as set forth in the Amended Complaint [16], shall be, and hereby
are, DISMISSED as legally frivolous pursuant to 28 U.S.C. §1915(e) insofar as the claims are

barred by the doctrine of absolute judicial immunity.

1 Although Plaintiff's filing references only Case No, 1:23-cv-260 (W.D. Pa.), the Court notes that Plaintiff also
filed a civil action at Case No. 1:24-cv-122 (W.D. Pa.), styled as Talbert v. Irwin, et al.

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IT IS FURTHER ORDERED that the Court’s dismissal of the aforementioned claims are
without leave to amend, as the claims cannot be rehabilitated through further amendment.
IT IS FURTHER ORDERED that the Report and Recommendation of Chief Magistrate

Judge Lanzillo, issued on August 26, 2024, [30], is adopted as the opinion of this Court.

SUSAN PARADISE BAXTER
United States District Judge

